                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF IOWA
                              CEDAR RAPIDS DIVISION

                                                )
TRACEY K. KUEHL, et al.,
                                                )
                                                ) Case No. C14-02034-LRR
                     Plaintiffs,                )
       v.                                       )
                                                  DECLARATION OF NANCY HARVEY
                                                )
PAMELA SELLNER, et al.,                         )
                                                )
                                                )
                      Defendants.
                                                )
                                                )
                                                )

                                   Declaration of Nancy Harvey

       I, Nancy Harvey, declare that if called as a witness in this action I would competently testify

of my own personal knowledge as follows:

       1.      I am over the age of 18, of sound mind, and have freely given the testimony set

forth in this Declaration. I will turn sixty-one in July, and my husband and I have lived in Iowa

since 1989. I presently live in Ankeny, Iowa, which is about two- and one-half hours from the

Quad Cities area, where I occasionally visit my son. I work from home as a life insurance

underwriter. I grew up on a cattle ranch and row crop farm outside of Bloomington, Illinois.

       2.      For as long as I can remember, I have felt a deep connection to animals and a

great responsibility to them. My main responsibility on the farm growing up was to serve as a

“friend” to the cattle. I would keep them calm and pet them when my dad needed to administer

vaccines or do other work to them. I recall befriending one Charloais steer, who I grew to love as

a pet. When my father shipped the steer for slaughter, I was very sad and never really got over it.

From that moment going forward, I have felt a strong connection to our animal brethren and

have become increasingly active in animal protection causes. I feel very strongly that animals are



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at our mercy, and that people like me are necessary to watch over them and care for them. I

presently live with two rescued cats and two rescued dogs, who I feel reciprocate my love and

affection for them as they follow me from room to room and are my constant companions

whenever I am at home.

       3.      I have a long history of advocacy work on behalf of companion animals. I am the

vice president of the non-profit organization Iowa Coalition for Pet Adoption. The Coalition

promotes adopting companion animals rather than purchasing them from breeders and helps

fundraise with local shelters for food, bedding, and veterinary care costs. I am also a member of

the national companion animal rescue group Red Rover Responders, which is an affiliation of

the Humane Society of the United States. We get called in to assist with rescues during animal

displacement crises, such as tornadoes, apartment closures, and Hurricane Katrina. I am also a

member of the Animal Legal Defense Fund.

       4.      In the past, I have visited a handful of zoos in order to observe animals I wouldn’t

normally be able to see in person. One zoo that sticks out to me as particularly good is the Blank

Park Zoo in Des Moines, Iowa. The setting at the Blank Park Zoo is beautiful, and the animal

enclosures are set up with environments specifically made to replicate the natural environments

in which the animal species naturally live. Further, the environments contained enrichment to

stimulate the animals’ minds and relieve the boredom inherent with their captivity. Until I

learned of the existence of the Cricket Hollow Zoo in Manchester, Iowa, I thought Iowa only had

two zoos: the Blank Park Zoo in Des Moines and the Oleson Park Zoo in Fort Dodge, which I

have never visited.

       5.      My friend Lisa Kuehl informed me about the Cricket Hollow Zoo. She had flown

over the Zoo with her husband during the spring of 2012 and asked me if I’d accompany her on a




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visit when it opened. Lisa told me that the animals at the Zoo appeared to be living outside

during the winter and that their enclosures were fairly small and muddy from snow melt. I was

curious about the animals there and wanted to see how they were doing. At the time—in spring

2012—I still believed exotic animals could be humanely cared for in captivity. I told Lisa I

would accompany her to the Zoo

       6.      I visited the Cricket Hollow Zoo on June 21, 2012 with Lisa and another friend of

ours named Kristine Bell. This was my first visit to a roadside zoo, as opposed to a municipal

zoo, and I did not know exactly what to expect. I thought the animals would be well cared for

since it was a small rural zoo, so I was surprised by what I saw. When we arrived at the Cricket

Hollow Zoo, an appalling stench overcame me and everything looked covered in dirt. When we

walked into the office, there were flies everywhere. The flies swarmed around my head,

annoying me, and the smell caused my eyes to water and nose to itch. The owner of the zoo had

a monkey in a diaper, which she was holding. From the office, we walked through the “Reptile

House.” In the Reptile House, I observed a turtle with a very dry shell. There were also flies

everywhere, and I noticed that the animals seemed to have very little water available to them.

The water that was available was filthy – particularly for the birds and the chinchillas.

       7.      When we got outside, I noticed how hot it was. I immediately began to sweat and

wished I had brought water into the Zoo with me. I observed rabbits that were housed in a very

small hutch with no food or water available to them. Further, the rabbits’ fur was badly matted,

and the cage was full of rabbit feces. The condition of the rabbits particularly bothered me

because, having had rabbits at home in the past, I know first-hand that they are very clean

animals who would not choose to live in their own filth. Especially with how hot it was, I could

not imagine how miserable it must be for a rabbit to live in these conditions. I have been a rabbit




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owner before, and these rabbits looked very stressed with the heat. A rabbit can die in a matter of

minutes due to the stress of heat. I was so shocked that a reasonable person could see this and not

be concerned about their welfare. It caused me more mental anguish knowing that I was helpless

to aid these animals and could only draw the attention of the zoo owner who appeared to be

unconcerned with my observations. I personally felt a deep sense of concern based on the overall

appearance of the Cricket Hollow Zoo. Something I was not used to seeing in a public zoo in

large cities was the scattered garbage, the filth, the smell, the small enclosures for the animals,

and the lack of enrichment for the animals. The animals peered out of their enclosures with these

desperate looks on their faces, and it just seemed like a very sad place.

       8.      After I visited the rabbits, I walked into the reptile house and saw all of the birds.

The heat, lack of clean water, excessive buildup of excrement, and absence of food was the first

thing I noticed in the bird room. Emotionally, I was shocked and upset, so I immediately went to

the zoo owner to advise her that these birds needed water. She went in and watered one bird, a

Cockatoo, but did not water any other animal. My assumption was that she would see that the

other animals were lacking water and would help them, but she did not. She walked right by

without a single look, and she did not check to see if maybe they needed something. I felt a deep

sense of urgency, that these animals needed help, and that I couldn’t do anything other than

advise the owner of their immediate needs which would help them right now. One does not need

zoology or vet background to understand that animals need basic things to survive, such as good

healthy food, water, and a suitable shelter. My thought was, “How could this zoo pass an

inspection without these basic things?”

       9.      On the same visit, as we walked around outside, I noticed many more troubling

conditions. The llama enclosure was full of excrement. The coyotes were pacing back and forth,




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back and forth, back and forth—showing clear signs of discontent. There were two dogs in a

cage, and the cage contained minimal water that was filthy with green algae growing in it. The

food that was available to the dogs was blue and green and not recognizable as edible, with many

flies on and circling around it.

       10.     The long-horned cattle had no water whatsoever, and one of them kept going over

to the water barrel to try to drink, but there was nothing there. There was a lot of mud around the

barrel, which indicated to me that there was a leak causing the water to escape. The baby cattle in

the enclosure were also looking for water and was crying out loudly. When I noticed this, I

approached the owner of the Cricket Hollow Zoo, Pamela Sellner, with my concerns about the

animals’ lack of water. She told me that she would take care of it, and I said I would help her

water the animals, mentioning my particular concern for the cattle. Ms. Sellner pulled a hose

over and filled the cattle water tank. I watched from the gate as she filled the tank with water. I

also mentioned my concern for the lack of water available to the birds and the rabbits. Beyond

the generally prevalent lack of water, the hay I observed on the premises which was for the goats

and cattle was dark in color and moldy, and the cattle had absolutely no protection from the

elements and nowhere to escape the hot sun.

       11.     After I had witnessed all of the suffering of the bears, pigs, dogs, llamas, cattle,

and rabbits, my mind stopped processing what I was seeing because it was too painful for me to

deal with. I decided to leave the Cricket Hollow Zoo and started back to the car, when I walked

past the lion enclosure. I saw my friend Kris and then we both observed a very thin lion with ribs

protruding from its body. The lion began to retch as I walked up and subsequently threw up a

light brown substance. The lion looked sick, and her eyes were withdrawn. Other than vomiting,

she did not move and was listless. More than anything else, my experience with this lion shocked




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and disturbed me. I immediately approached Ms. Sellner and told her that I had seen the lion

throwing up. She responded with such dismissive lack of concern for the lion that I immediately

shut down. Ms. Sellner simply said, “It’s an old lion,” and that it had seen the vet already. She

did nothing to relieve the lion’s current pain and suffering, and she did not deem it necessary to

offer me any additional information. I could not bear to be in the Cricket Hollow Zoo for one

more second. I walked as quickly as I could back to the car, where I waited for Lisa and Kristine

to finish touring the Zoo. As I sat in the car, my eyes filled with tears. The lion vomiting in front

of me played over and over in my mind. No animal should suffer in that way. I felt an immediate

and powerful connection with the lion, but I knew I could not stand to see him or the other

animals at the Zoo ever again if they remained there in such horrible conditions. I couldn’t

process any more sadness, and I was exhausted.

       12.     That night at home, I kept reliving my day in my mind, over and over, and hardly

slept. I had just experienced something that caused a reaction in me similar to PTSD, and the

mental images of suffering animals are still very vivid in my mind. It still haunts me to realize

there are people in this world who do not give even the most basic care to animals. I believe the

zoo owners consider their animals as only property rather than living, breathing, sentient

creatures. For the next few weeks, I had trouble returning to my normal life without thinking

about the Cricket Hollow Zoo and the lion.

       13.     The differences between the Blank Park Zoo and the Cricket Hollow Zoo cannot

be overstated. The Blank Park Zoo is a professionally run zoo that appears—from the public’s

perspective—to genuinely care for its animals. The Cricket Hollow Zoo, on the other hand, is

full of sad, lifeless animals with no enrichment or quality of life. The animals’ feelings of

desperation and helplessness are infectious. I felt consumed by the animals’ suffering and




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emotionally drained as I walked through the Cricket Hollow Zoo. All I could do to help was turn

to advocacy, an avenue with which I had at least some familiarity. I wrote letters to the United

States Department of Agriculture to complain of the conditions I had witnessed on June 21,

2012. I called the Deleware County Sherriff’s Department on two occasions and asked for an

animal welfare check. I also met with the Iowa Department of Agriculture and Land

Stewardship’s State Veterinarian to discuss my concerns at the Cricket Hollow Zoo, but he

seemed uninterested and took no action on their behalf. Ultimately, I contacted local television

news stations WHO Channel 13 asking them to make a media visit to the Cricket Hollow Zoo to

document and to create public awareness about the conditions for the animals there. I never

heard back from the government or the media directly.

       14.     I am still very upset by the conditions I witnessed at the Cricket Hollow Zoo, and

know that I could not handle witnessing all of the suffering again. I would love to visit the

animals in improved conditions because seeing these animals happy, healthy, and treated

humanely would allow me to feel better as well. I do not believe the owners of the Cricket

Hollow Zoo are capable of giving the animals the care they deserve, so I will not return to the

Cricket Hollow Zoo, whether or not the conditions improve. Instead, I would rather see the

animals relocated to a reputable animal sanctuary where they can live their lives free of the

torment at the Cricket Hollow Zoo. I would absolutely go visit the animals again if they were

relocated.


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       Pursuant to 28 U.S.C. 1746, I certify under penalty of perjury that the preceding is true

and correct. I authorize electronic signature of this declaration and provide Plaintiffs’ counsel

with my original signature page.


                                              /s/ Nancy Harvey
                                              Nancy Harvey

Executed on this 1st day of June, 2015.




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